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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION


NOAH BEVERLY,                                        CASE NO. 2:05-cv-735
                                                     CRIM. NO. 2:99-cr-104(2)
                                                     JUDGE GRAHAM
               Petitioner,                           Magistrate Judge Abel

v.

UNITED STATES OF AMERICA,

               Respondent.


                                    OPINION AND ORDER

       On November 24, 2006, the Magistrate Judge issued a Report and Recommendation

recommending that the instant motion to vacate, set aside, or correct sentence pursuant to 28 U.S.C.

§2255 Although the parties were specifically informed of their right to object to the Report and

Recommendation, and of the consequences of their failure to do so, there has nevertheless been no

objection to the Report and Recommendation.

       The Report and Recommendation is hereby ADOPTED AND AFFIRMED. This action is

hereby DISMISSED.

       It is so ORDERED.

                                                     s/James L. Graham
                                                     JAMES L. GRAHAM
                                                     United States District Judge

DATE: December 18, 2006
